Case 2:03-cr-20485-SH|\/| Document 319 Filed 08/22/05 Page 1 of 3 Page|D 388

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UNI'I‘ED STATES OF AMERICA,
Plaintiff,
Vs. CR. NO. 03-20485-Ma

ALFONZO JOHNSON,

~_/V--._r~._/V~_»V~.¢~.._¢

Defendant.

 

ORDER ON CONTINULNCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAI

 

This cause came on for a change of plea hearing on August 4,
2005. Defense counsel requested a continuance in order to allow
for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report/change of plea date of Tuesday, August 30, 2005 at 9:00 a.m.

The period from August 4, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161{h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

:T rs so oRDEREn this 1194 day of August, 2005.

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRIC'I‘ JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 319 in
case 2:03-CR-20485 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

